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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

JAMES BLAKES, et al., for                      )
themselves and on behalf of similarly          )   No. 11 CV 336
situated others,                               )
                                               )
                             Plaintiffs,       )
                                               )
      v.                                       )   Magistrate Judge Young B. Kim
                                               )
ILLINOIS BELL TELEPHONE                        )
COMPANY, d/b/a AT&T Illinois,                  )
                                               )   December 17, 2013
                             Defendant.        )

                     MEMORANDUM OPINION and ORDER

      James Blakes, Steven Clark, Herman Deckys, Bradley Hunt, Phillipe Porter,

Ernest Roberts, Jr., and Larry Williams (collectively, “the named plaintiffs”)

brought this purported collective action against Illinois Bell Telephone Company

(“Illinois Bell”) under the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201, et

seq., claiming that Illinois Bell systematically fails to pay its cable splicers for all of

the time they work, including overtime. After this court conditionally certified the

named plaintiffs’ proposed class of allegedly similarly situated cable splicers, the

case proceeded through the close of discovery. Now before the court is Illinois Bell’s

motion to decertify the class. The motion is granted in part and denied in part for

the following reasons:

                                 Procedural History

      The named plaintiffs filed their amended complaint in February 2011,

claiming that Illinois Bell violates the FLSA by requiring cable splicers to include a
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half-hour lunch break on their time sheets whether or not they actually take a

break, unless they receive a supervisor’s preapproval to work through lunch.1

(R. 11, Am. Compl. ¶¶ 17-18.) They further alleged that management routinely

disciplines cable splicers for seeking overtime compensation for hours that were not

pre-approved, and as a result, cable splicers regularly underreport the hours they

work. (Id. ¶¶ 19-20.) In describing the policies that require them to work through

lunch, the named plaintiffs alleged that they are required to maintain the security

of job sites and travel between job sites even during their lunch hours. (Id. ¶ 26.)

They also alleged that because of restrictions governing when they can return to

their garage at the end of a shift, and because of an alleged shortage of garage

computers, they often have to work beyond their scheduled shift to enter their time

on Illinois Bell’s computer system.      (Id. ¶¶ 27-30.)    As relief for these alleged

overtime violations, the named plaintiffs sought a declaratory judgment stating

that Illinois Bell’s actions are unlawful, as well as damages on behalf of all similarly

situated people who opt into the action. (Id. ¶ 50.)

        After the parties consented to this court’s jurisdiction, see 28 U.S.C. § 636(c);

(R. 21), the named plaintiffs moved the court for conditional certification under 29

U.S.C. § 216(b), arguing that they should be permitted to issue a judicially

supervised notice to similarly situated cable splicers allowing them the opportunity

to opt into the suit. (R. 34, Pls.’ Mot. at 1-2.) In support of their motion the named

plaintiffs submitted similar declarations asserting that they rarely are able to take


1The plaintiffs’ amended complaint included a claim under the Illinois Minimum
Wage Law, but they have since dropped that claim. (R. 60.)

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an uninterrupted 30-minute lunch break because they have to maintain the

security of a job site or travel from job site to job site. (Id. at 5 & Exs. 1-7.) The

notice they sought to distribute to potential opt-in plaintiffs described the suit as

seeking back-pay for work that “includes, but is not limited to, working through

meal breaks and completing time sheets at the end of the shift.”          (Id. Ex. 8,

Proposed Notice at 1.)

      On June 15, 2011, this court issued an opinion granting the motion for

conditional certification in part and denying it in part. See Blakes v. Illinois Bell

Tel. Co., 11 CV 336, 2011 WL 2446598, at *10 (N.D. Ill. June 15, 2011). Applying

the lenient standard that pertains to conditional certification, this court determined

that the named plaintiffs had made a modest showing that Illinois Bell’s policy

requiring cable splicers to maintain the security of their job sites routinely

interfered with their lunch breaks. Id. at *3. The court characterized the claim

that cable splicers miss lunch because of inter-site travel as being “[o]n shakier

ground,” but found the evidence sufficient to justify issuing notice on that claim as

well. Id. at *4. Finally, the court agreed that the named plaintiffs had made a

sufficient showing that cable splicers are similarly forced to work past the end of

their shifts to complete time sheets.    Id.   This court agreed with Illinois Bell,

however, that the proposed notice’s language reached too far in describing unpaid

work as that which “includes, but is not limited to,” working through meal breaks

and completing time sheets post-shift. Id. at *8. Noting that the case is about

unpaid lunch breaks and post-shift completion of time sheets, not “any possible




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FLSA claim under the sun,” this court ordered the named plaintiffs to excise the

“but is not limited to” language from the proposed notice. Id.

      Following the court’s conditional certification order the named plaintiffs

issued notice of the suit to more than 2,000 potential opt-in plaintiffs. Ultimately,

346 opted in. (See R. 196, Ex. UU, Zollman Decl. ¶ 3.) The litigation then entered

the discovery phase and in December 2011 this court granted Illinois Bell

permission to serve discovery on and depose 18 of the opt-in plaintiffs. (R. 139.)

      In the fall of 2012 Illinois Bell sought a protective order barring the named

plaintiffs from seeking information about its supervisors’ and other managers’

performance evaluations and compensation, arguing that such information “has

nothing to do with the theories on which Plaintiffs moved for conditional

certification and on which this Court authorized notice.” (R. 180, Def.’s Mot. for

Protective Ord. at 1-2.) At the hearing held on the motion Illinois Bell argued that

the plaintiffs’ discovery request showed that the “DNA of the claims in this case

ha[s] changed” and that the plaintiffs were seeking information for a new, different

claim based on productivity and efficiency standards.        (R. 197, Nov. 13, 2013

Hearing Tr. at 4-7.)   This court agreed that the efficiency theory represented a

significant shift. In its order granting the motion, the court noted that the issues on

which it had granted conditional certification included:

      whether Plaintiffs worked through their lunch breaks, whether they
      spent time completing the required time sheets post-shift, and whether
      they were denied compensation in violation of FLSA. The information
      Plaintiffs now seek—performance evaluation factors that may have
      encouraged and motivated first level supervisors and managers to




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      impose unreasonable efficiency goals for their subordinate cable
      splicers—is not relevant to resolve these issues.

Blakes v. AT&T Corp., 11 CV 336, 2012 WL 5862747, at *1 (N.D. Ill. Nov. 19, 2012).

Because this court agreed that the information regarding managers’ and

supervisors’ performance evaluations and compensation criteria are irrelevant to

the named plaintiffs’ claims, this court granted Illinois Bell the requested protective

order. Id.

      After the protective order was entered the parties engaged in expert

discovery and this litigation moved into the decertification phase. The parties have

submitted hundreds of pages of briefing on Illinois Bell’s motion to decertify the

class, accompanied by thousands of pages of exhibits, including competing expert

reports. In rendering this decision, the court has considered the allegations in the

complaint and the declarations, deposition excerpts, and other materials submitted

in support of the parties’ positions.

                                        Facts

      An Illinois Bell cable splicer’s primary job is to install, maintain, and repair

Illinois Bell’s network of cable, fiber optics, and telephone services. (R. 11, Am.

Compl. ¶ 10.) The cable splicers who opted into this lawsuit have been assigned to

48 different garages and have worked underneath approximately 209 different

supervisors or acting supervisors. (R. 196, Ex. UU, Zollman Decl. ¶¶ 3-4.) They

also have worked in one (or in some cases, more than one) of the following

capacities: as a copper and fiber cable splicer, as a DAVAR tech, or as a member of

the Digital Electronics Group (“DEG”). Copper and fiber cable splicers perform a



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significant amount of their work underground in manholes, requiring them to set up

and tear down their job sites at the beginning and end of an assignment. (R. 217,

Pls.’ Resp., Ex. 46, Harn Dep. at 227:18-230:3.) A DAVAR tech is responsible for

verifying and testing the quality of cable pairs. (Id. Ex. 19, Anderson Dep. at 20-

21.)   The DAVAR tech is also responsible for maintaining the security of the

equipment used to perform the assigned testing, which includes two computer

terminals. (Id. at 108:17-22.) A DEG tech installs, maintains, and troubleshoots

end-user equipment for Illinois Bell’s customers.        (Id. Ex. 21, Palenske Dep. at

10:12-10:15.)   DEG techs use a computer to check on equipment needs and to

complete paperwork. (Id. at 23:20-24:23.)

A.     Illinois Bell’s Official Lunch Break and Route Policies

       Illinois Bell’s official wage policy is that cable splicers should receive a daily,

unpaid lunch break between the third and sixth hour of their shift. (Id. Ex. 32,

2008 Telecom Operations at 3.) That policy is codified in its collective bargaining

agreement (“CBA”) with the cable splicers’ union.           (Id. Ex. 34, CBA § 17:10.)

Consistent with that policy, cable splicers are required to seek and receive

preapproval before working through their daily lunch break. (R. 196, Ex. SS, Zang

Decl. Ex. 1.)

       Several Illinois Bell policies officially reinforce the idea that cable splicers are

required to report when they work through lunch or before or after a shift,

regardless of whether they have received preapproval. (See id.) The Illinois Bell

Code of Business Conduct provides that:




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      [n]onexempt (overtime eligible) employees must accurately report all
      hours worked each day and each week and may not work overtime
      unless it is approved by a supervisor in advance. However, all
      overtime hours worked by nonexempt employees must be paid
      regardless of whether they were approved. Managers are prohibited
      from requiring or permitting nonexempt employees to work ‘off the
      clock.’

(Id.) The Code of Business Conduct lists working through lunch periods or before or

after a scheduled shift as examples of compensable time. (Id.) It also makes clear

that employees should not work off the clock “voluntarily,” reiterating that “working

off the clock is never permitted.” (Id.) Illinois Bell’s 2008 Telecom Operations Non-

Management Employee Expectations guidelines make clear that cable splicers “are

responsible for submitting accurate and complete daily timesheets at the end of

their shift” and that “[t]ime documented must match the time actually worked.”

(R. 217, Ex. 32, 2008 Telecom Operations at 2.) All cable splicers are required to

sign forms acknowledging that they have received FLSA training and that they

understand that they must “always report all hours worked.” (See, e.g., R. 196,

Ex. WWW.)

      Illinois Bell also has policies that govern whether a cable splicer can leave a

job site or assignment to take a lunch break on a given day. The 2008 Telecom

Operations Non-Management Employee Expectations state that cable splicers:

      working in the underground may not break down the work location to
      travel to lunch. Underground locations may not be left unattended.
      Lunches should be carried in this situation. Employees desiring to
      take other than the approved lunch must obtain approval from their
      manager.




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(R. 217, Ex. 32, 2008 Telecom Operations at 3.) According to the CBA, if a job

assignment “does not permit the employee to leave the building or job

site/assignment, it is assumed no lunch period has been taken.” (Id. Ex. 34, CBA

§ 17:11.) When the cable splicer is confined to a job site during lunch, the CBA

states that the cable splicer “will be permitted reasonable paid time to eat on the

job.” (Id.)

       Illinois Bell policies also dictate when cable splicers are expected to leave and

return to their garage at the start and end of their shifts. Specifically, they are

required to arrive at their reporting location at the start of their shift and to leave

for their first job immediately after receiving the day’s assignment. (Id. Ex. 33, CT

Expectations at 1.) Illinois Bell expects cable splicers to leave their garage within

15 minutes of the start of their shift and return 15 minutes prior to its end. (Id.

Ex. 32, 2008 Telecom Operations at 2.) Illinois Bell also expects its cable splicers to

use the time between their return to the garage and the end of their shift to “gas

and stock their truck and to order supplies for the next day.” (Id.) They are also

supposed to use that time to enter their hours worked into the time-recording

system. (Id. Ex. 33, CT Expectations at 1.)

B.     Illinois Bell’s Time-Recording System

       Illinois Bell uses a system called JAM to record cable splicers’ work hours.

(R. 217, Ex. 55, JAM OSP at 1.) Instead of following a traditional punch-in/punch-

out format, JAM measures the hours worked by task so that Illinois Bell can

determine how much time individual cable splicers are spending to perform specific




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tasks. (Id. at 6, Id. Ex. 47, Johnson Dep. 319:18-319:20.) In completing their JAM

time sheets, cable splicers are asked to account for all of the hours associated with

their daily schedule and to divide the hours worked into particular tasks.         (Id.

Ex. 49, Severson Dep. at 63:9-63:22.) The hours allocated to tasks are supposed to

total the scheduled hours worked, but there is a code that cable splicers can use to

enter overtime beyond the scheduled hours.       (Id. at 63:9-64:3, 67:23-68:4.)   An

Illinois Bell document conveying the answers to JAM-related “frequently asked

questions” makes it clear that if a cable splicer “enters a known incorrect value into

his timesheet, he is falsifying his timesheet.” (R. 226, Def.’s Reply, Ex. Y, JAM FAQ

at 8.) Illinois Bell also uses the information cable splicers input into JAM to rate

their efficiency. This efficiency rating is done through the MSOC system. (R. 217,

Ex. 48, Macon Dep. at 109-113:3.)

C.    MSOC

      In February 2010 Illinois Bell began using a methodology called “MSOC” to

evaluate its cable splicers’ performance, including their efficiency. (Id. at 71:10-

72:2.) MSOC establishes a uniform measurement system using Key Measurement

Indicators, or “KMIs,” to hold employees accountable for their performance and to

shape their behavior. (Id. Ex. 51, MSOC 5 KMIs at 1.) KMIs include an efficiency

measure that evaluates the hours it should have taken to complete a task divided

by the time an employee reported to complete the task.          They also include a

productivity measure that analyzes the hours it should have taken to complete a

task divided by the total hours paid. (Id. Ex. 48, Macon Dep. 98:14-99:5.) Illinois




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Bell uses the KMIs to rank cable splicers into quintiles based on their efficiency.

(Id. at 165:1-165:15.) A cable splicer whose efficiency ranks in the bottom quintile

will find himself the subject of added supervisor scrutiny. (Id. at 165:5-167:3.) The

parties dispute whether that scrutiny amounts to discipline or a threat of discipline.

                                      Analysis

      Subject to certain limitations inapplicable here, the FLSA requires employers

to pay their employees at a rate of one and one-half times their regular pay rate for

any hours worked over 40 hours in a given week. 29 U.S.C. §§ 207, 213; Schaefer-

LaRose v. Eli Lilly & Co., 679 F.3d 560, 572 (7th Cir. 2012). Employees who believe

that their employer has violated that requirement are entitled to “bring a private

cause of action on their own behalf and on behalf of other employees similarly

situated.”   Genesis Healthcare Corp. v. Symczyk, 133 S. Ct. 1523, 1527 (2013)

(internal quotation omitted); see also Alvarez v. City of Chicago, 605 F.3d 445, 448

(7th Cir. 2010). District courts typically follow a two-step process to get to the

bottom of that question, involving conditional certification of a class pre-discovery

followed by a second look at whether collective treatment is appropriate after the

parties have engaged in discovery. Strait v. Belcan Eng’g Grp., Inc., 911 F. Supp. 2d

709, 718 (N.D. Ill. 2012).    Here, the plaintiffs passed through the conditional

certification stage by making the requisite “modest factual showing” of similarity.

See Camilotes v. Resurrection Health Care Corp., 286 F.R.D. 339, 345 (N.D. Ill.

2012) (quotation omitted). But now that they have navigated through extensive




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discovery and arrived at the second stage, the plaintiffs are subject to a stricter,

more probing inquiry into whether they are in fact similarly situated. See id.

      In moving to decertify the conditionally certified class of cable splicers,

Illinois Bell argues that discovery has shown that the plaintiffs’ experiences in

working through lunch or before or after their shifts are so varied that

individualized inquiries inevitably will outweigh any efficiency benefits that could

be gained by pursuing the case as a collective action. They argue that to the extent

the plaintiffs claim that MSOC-related efficiency pressures force them to work off

the clock, that theory is both outside the scope of this court’s conditional

certification order and unworkable on a class-wide basis. They further argue that

the plaintiffs’ remaining theories—that cable splicers work through lunch because

they have to maintain job-site security or travel between sites, or that they work

post-shift because they are unable to enter their hours before their shift ends—rest

on factors that vary among garages, supervisors, and the particulars of the

plaintiffs’ daily job assignments.

      In responding to the decertification motion, the plaintiffs argue that they are

similarly situated with respect to “two primary indicia of liability.” (R. 230, Pls.’

Sur-Reply at 3.) First, they assert that the MSOC and JAM time-reporting systems

uniformly result in cable splicers hiding their time to avoid being disciplined for

failing to meet what they characterize as impossible efficiency goals.      In other

words, they argue that all of the opt-in cable splicers underreport the time it takes

them to complete their daily tasks in order to avoid the bottom efficiency quintile,




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causing them to forego compensation they are due, including overtime. Second,

they argue that cable splicers work through lunch or before or after shifts for

reasons that are specific to three sub-classes: cable and fiber splicers, DAG techs,

and DAVAR techs. Specifically, they argue that plaintiffs in each of these sub-

groups are forced to work through lunch because Illinois Bell requires them to

monitor manholes and expensive equipment. (Id.)

        Interspersed throughout the briefing on the motion to decertify is the parties’

back-and-forth over whether this court should disregard the expert reports

submitted by Dr. Robert Bardwell on behalf of the plaintiffs and Dr. John Henry

Johnson IV on behalf of Illinois Bell.2 Accordingly, before getting to the merits of

the parties’ decertification arguments this court will address these preliminary

evidentiary issues.

A.      The Parties’ Expert Reports

        In support of its motion to decertify, Illinois Bell submitted the expert report

of economist Dr. Johnson, who analyzed data from the opt-in plaintiffs’ MSOC and

JAM records and concluded that the only way to determine whether a particular

employee performed uncompensated work in the manner the plaintiffs allege would

be to review multiple electronic databases, paper records, and individual

recollections of each individual plaintiff. (R. 193, Ex. B, Johnson Report at 3.) With


2  Although in their sur-reply the plaintiffs attack the merits of the opinion
submitted by another of Illinois Bell’s experts, Professor Paul Mitchell, at no point
do they argue that this court should exclude his report, that he is unqualified, or
that the report is unreliable. (R. 230, Pls.’ Sur-Reply at 11-19.) Accordingly, this
court does not undertake a Daubert analysis with respect to Professor Mitchell’s
opinion.

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their response, the plaintiffs submitted the expert report of statistician

Dr. Bardwell, who opined that the court could use random sampling to determine

how often the opt-in plaintiffs worked without compensation.           (R. 217, Ex. 37,

Bardwell Report at 5-6.)

      Although neither side has explicitly moved to exclude its opponent’s expert

report under Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993), in

their response to the motion to decertify the plaintiffs ask this court to “disregard”

Dr. Johnson’s analysis, and in its reply Illinois Bell asks the court to “reject”

Dr. Bardwell’s. Even though neither side presents a traditional Daubert argument,

each side challenges the validity of its opponent’s expert reports and this is enough

to trigger the need for the court to embark on that analysis here. When an expert’s

report is critical to the question of class certification, this court “must conclusively

rule on any challenge to the expert’s qualifications or submissions prior to ruling on

a class certification motion.” American Honda Motor Co., Inc. v. Allen, 600 F.3d

813, 815-16 (7th Cir. 2010). In other words, where an expert’s opinion is relevant to

establishing whether class treatment is appropriate, the court must resolve any

challenge to the expert’s qualifications or the reliability of the expert’s information

before deciding the certification motion. Id. The Seventh Circuit has made clear

that when there is doubt about whether a Daubert ruling is needed at the class

certification stage, the district court should err on the side of engaging in an explicit

Daubert ruling. See Messner v. Northshore Univ. Healthsystem, 669 F.3d 802, 812

(7th Cir. 2012); see also West v. Prudential Secs., Inc., 282 F.3d 935, 938 (7th Cir.




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2002) (“A district judge may not duck hard questions by observing that each side

has some support, or that considerations relevant to class certification also may

affect the decision on the merits.”). Accordingly, this court will analyze the parties’

objections to their opponent’s expert reports under the analysis set forth in Daubert.

       Under Rule 702 and Daubert, “expert testimony is admissible only if (1) the

expert testifies to valid technical, scientific, or other specialized knowledge; and (2)

that testimony will assist the trier of fact.” Messner, 669 F.3d at 811-12.        The

Daubert framework requires the court to assess “whether a given expert is qualified

to testify in the case in question and whether his testimony is scientifically

reliable.”   Gayton v. McCoy, 593 F.3d 610, 616 (7th Cir. 2010).         To determine

whether an expert is qualified, the court compares “the area in which the witness

has superior knowledge, skill, experience, or education with the subject matter of

the witness’s testimony.” Id. (quotation omitted). To assess reliability, the court

looks to factors including “(1) whether the scientific theory can be or has been

tested; (2) whether the theory has been subjected to peer review and publication;

and (3) whether the theory has been generally accepted in the relevant scientific,

technical, or professional community.” American Honda, 600 F.3d at 817. Also

relevant is the expert’s methodology and range of experience and training in the

subject area. Gayton, 593 F.3d at 616.

       1.     Dr. Johnson’s Report

       Illinois Bell engaged Dr. Johnson, the President and CEO of Edgeworth,

Economics, LLC, to evaluate whether a common methodology can be employed to




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show that the plaintiffs are similar with respect to working through their lunch

breaks or after their shifts end without resorting to individual determinations

regarding who worked when and why. (R. 193, Ex. B, Johnson Report at 2-3.)

Dr. Johnson reviewed the depositions of the opt-in plaintiffs as well as JAM, MSOC,

and GPS-tracking data supplied by Illinois Bell to form his opinions. (Id. at 3-4 &

App’x B.) Dr. Johnson concluded that the data reflected “a range of circumstances

and differences with respect to [the plaintiffs’] daily work patterns, overtime

worked, efficiency scores and other relevant factors.”        (Id. at 3.)   He further

concluded that it would be impossible to determine from the data “on a class-wide

basis, whether any given class member took a lunch break, submitted an electronic

timesheet during the regularly scheduled work day, or was paid sufficient

overtime.” (Id. at 5.) In particular, Dr. Johnson opined that to determine whether

the MSOC system motivated cable splicers to work through their lunches to

improve their efficiency scores, the court would have to undertake “at a minimum

an analysis of their individual performance, their assignments that day and prior

days, their prior MSOC scores, and their own anticipated MSOC score that day.”

(Id. at 27.)

       In responding to Illinois Bell’s decertification motion, the plaintiffs challenge

Dr. Johnson’s qualifications and the reliability of his report. With respect to his

qualifications, the plaintiffs argue that Dr. Johnson’s experience as a labor

economist has nothing to do with his report, which they characterize as requiring

statistical expertise. (R. 217, Pls.’ Resp. at 95-98.) But a close look at Dr. Johnson’s




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resume shows that his educational and professional background is sufficiently

aligned with the field of statistics to render him qualified here. See Gayton, 593

F.3d at 616 (noting that to evaluate an expert’s qualifications under Daubert, the

court should compare the expert’s area of knowledge, experience, and education

with the proposed testimony). In addition to his Ph.D. in economics, Dr. Johnson

has taught in the fields of Economics and Labor & Industrial Relations and is a

member of the American Statistical Association. (R. 193, Ex. B, Johnson Report,

App’x A.) He has provided expert opinions in a number of FLSA cases and has

published articles that discuss the impact of statistics in employment litigation.

(Id.) Given Dr. Johnson’s range of experience in this field, he is qualified to provide

the opinions reflected in his report.

      In challenging the reliability of Dr. Johnson’s report, the plaintiffs argue that

it is impossible to test the reliability of his opinion because he did not provide the

algorithms he used to produce his data, in violation of Federal Rule of Civil

Procedure 26(a)(2)(B)(ii). (R. 217, Pls.’ Resp. at 87-90.) Rule 26(a) requires an

expert witness to disclose in his report “the facts or data considered by the witness

in forming” his opinions. Fed. R. Civ. P. 26(a)(2)(B)(ii). The plaintiffs argue that

because Dr. Johnson did not provide them with the code he used to create the

algorithms reflected in his data tables, they were deprived of the ability to depose

him with respect to how he reached his conclusions. But most of the tables included

in Dr. Johnson’s reports represent summaries of data he gleaned from Illinois Bell’s

JAM, MSOC, and VTS systems, compiling information with respect to how many




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regular and overtime hours the opt-in plaintiffs worked or summarizing how often

employees worked underground. (R. 193, Ex. B, Johnson Report.) His report is

supported by an exhibit listing the data sources he relied on to summarize that

data. (Id. App’x B.) Moreover, in its reply brief Illinois Bell represents that the

underlying data was produced to the plaintiffs long before they took Dr. Johnson’s

deposition.   (R. 226, Def.’s Reply at 17 n.7 & Ex. F, Abrams Decl. ¶ 15.)         The

plaintiffs have not identified which of the tables they consider suspect based on

what they characterize as the insufficient disclosure of Dr. Johnson’s code.

Accordingly, because Dr. Johnson provided an extensive list of the “facts or data” he

relied on to form his opinions in Exhibit B to his report, the court will not disregard

his opinion based on Rule 26(a)(2)(B).

      The plaintiffs next argue that the court should disregard Dr. Johnson’s report

because, they say, his analysis is flawed and his results are unreliable. According

to the plaintiffs, “Dr. Johnson is incapable of giving an opinion because his opinion

starts from the premise that the Fair Labor Standards Act is wrong, or at the very

least, unworkable.” (R. 217, Pls.’ Resp. at 86.)     They rest this accusation on a

selective excerpt from his deposition in which the plaintiffs tried to paint him into a

corner by forcing him to come up with a hypothetical class that would be similar

with respect to its FLSA claims. (Id. at 85-86.) His response to that attempt was to

decline to come up with a hypothetical class on the fly, because, as he said, “I

always think these things are very factually specific” and “it’s very hard in the

abstract” to identify the circumstances that would make class-wide treatment




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appropriate. (R. 217, Ex. 47, Johnson Dep. at 247-48.) Dr. Johnson’s reluctance to

identify a hypothetically viable class outside the context of any specific data hardly

translates to a conclusion that he summarily rejects the use of collective actions in

the FLSA context.

      Finally, the plaintiffs argue that Dr. Johnson’s report is unreliable because

he relied on data from Illinois Bell’s computer systems and, according to them, he

never analyzed the plaintiffs’ deposition testimony. But the point of Dr. Johnson’s

theory is that because the court has to look at the individual plaintiffs’ deposition

testimony to determine whether or not they took their lunch breaks, it is not

possible to resolve the claims on a classwide basis. The plaintiffs may disagree with

the merits of that premise, but their disagreement does not render his opinion

unreliable. See Manpower, Inc. v. Insurance Co. of Penn., 732 F.3d 796, 809 (7th

Cir. 2013) (noting that as long as there is “a rational connection between the data

and the opinion” an expert’s reliance on faulty data goes to the weight of his opinion

rather than its admissibility). And to the extent that they argue Dr. Johnson’s

report speaks more to damages than liability, that is a point the court can evaluate

in reviewing the utility of his report in connection with the similarity argument, but

it does not mean his report is unreliable. Accordingly, this court will consider Dr.

Johnson’s analysis in evaluating whether the plaintiffs are sufficiently similar to

warrant them continuing to pursue their claims on a collective basis.




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      2.     Dr. Bardwell’s Report

      Illinois Bell challenges the reliability of Dr. Bardwell’s report, submitted by

the plaintiffs in support of their response to the motion for decertification.

Dr. Bardwell opines that with a sample size of the 18 deposed opt-in plaintiffs the

court can estimate unpaid overtime for the entire collective within a margin of error

of plus or minus 19%. (R. 217, Ex. 37, Bardwell Report at 5-6, 12.) Specifically,

based on the opt-in plaintiffs’ deposition testimony and interrogatory responses,

Dr. Bardwell states that he calculated the average minimum unpaid hours per week

as falling between 2.22 and 3.28 hours per week, and that the sample allows 90%

confidence that the unpaid overtime for each opt-in plaintiff will fall within that

range. (Id. at 13-14.) Dr. Bardwell also argues that the erratic fluctuations noted

by Dr. Johnson regarding the opt-ins’ MSOC daily scores “mask overall patterns

that affected all employees.”    (Id. at 17.)   Illinois Bell attacks the reliability of

Dr. Bardwell’s report by arguing that the 18 opt-in employees cannot provide the

basis for accurate damages estimates because of the lack of randomness and bias in

the sample. The latter is reflected, according to Illinois Bell, by the fact that several

of the originally identified 25 representative opt-ins withdrew from the case because

they did not want to participate in discovery, showing that the 18 who remained

were particularly motivated to pursue their claims. The data is further skewed,

Illinois Bell argues, by Dr. Bardwell’s reliance on counsel-formulated interrogatory

responses and his failure to consider differences between some of the opt-ins’

testimony and interrogatory responses.




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      Again, the court concludes that Illinois Bell’s arguments speak more to the

weight to be given Dr. Bardwell’s sampling results than whether the court should

reject his entire methodology as being insufficiently reliable under Daubert. Illinois

Bell does not challenge Dr. Bardwell’s qualifications to render the report, and as the

plaintiffs point out, his underlying methodology—the use of sampling data to

extrapolate class damages—is one that has been accepted by experts and courts in

dealing with FLSA collective action cases. See American Honda, 600 F.3d at 817

(noting that a scientific methodology may be sufficiently reliable if it is accepted by

the relevant scientific community).         But in the end, the court considers

Dr. Bardwell’s opinion only marginally helpful, because it fails to address the

question of similarity among the plaintiffs’ claims. Although his opinion suggests

random sampling as a cure for the problem of individual variations in calculating

damages, it does not lend a great deal of insight with respect to whether Illinois

Bell’s liability can be resolved on a collective basis. Accordingly, although the court

has carefully considered Dr. Bardwell’s report, his input ultimately does not weigh

heavily in the court’s step-two similarity analysis, which focuses on liability.

B.    The Plaintiffs’ Efficiency-Pressure Theory

      Turning to the substance of Illinois Bell’s decertification motion, the first

path the plaintiffs pursue to demonstrate that all cable splicers are similarly

situated for purposes of their FLSA claim consists of their theory that the MSOC

efficiency metrics are so unrealistic that the only way the plaintiffs can avoid falling

into the bottom quintile—an event which, they say, subjects them to discipline—is




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to “hide time” from Illinois Bell. In other words, they argue that they are similarly

situated based on a “common policy” that Illinois Bell knows or should know results

in cable splicers underreporting their time.      Illinois Bell argues that this court

should bar the plaintiffs from pursuing this theory collectively, for both procedural

and substantive reasons.

       1.     Illinois Bell’s Procedural Challenge to the Efficiency-Pressure
              Theory

       Illinois Bell argues that because the plaintiffs never presented at the

conditional certification stage their theory that all cable splicers are forced to hide

their time under the MSOC efficiency rating system, nor moved to modify the class

after it was conditionally certified, they should not be allowed to proceed collectively

with respect to that theory.     (R. 205-2, Def.’s Br. at 4-5, 10-12.)   The plaintiffs

concede that they did not present this theory at the conditional certification stage,

but argue that they “were not required at that point to present all evidence

relevant to the case, only so much as the Court might require to grant conditional

certification.”   (R. 230, Pls.’ Sur-Reply at 21 (emphasis in original).)     But that

response lands wide of Illinois Bell’s position.      There is no suggestion that the

plaintiffs were obligated to present all of their evidence at the conditional

certification stage, before they engaged in discovery. But as Illinois Bell points out,

the plaintiffs did not need evidence or discovery to present their theory earlier. If,

as the named plaintiffs contend, they have been forced to underreport their time

since the MSOC’s inception, they did not require the benefit of discovery to present

that theory at the conditional certification stage.



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         The question is whether they should be allowed to seek conditional

certification based on one theory of off-the-clock work—or in this case, three

theories: maintaining job-site security, inter-site travel, and a garage computer

shortage—and then avoid decertification based on another. That question seems

particularly salient here, where the plaintiffs who opted into the suit would have

had no way of gleaning from the amended complaint or opt-in notice that the named

plaintiffs intended to pursue a theory that turns on all of the opt-ins having

routinely and purposefully manipulated their time sheets in order to improve their

efficiency ratings. Put more bluntly, cable splicers who opted into the suit had no

way of knowing that the named plaintiffs would argue that all of the opt-ins

intentionally falsified their time sheets.

         As the plaintiffs concede, they did not seek conditional certification on the

basis of their efficiency-pressure theory.        This court first became aware of the

plaintiffs’ percolating efficiency-pressure theory when Illinois Bell sought a

protective order barring the plaintiffs’ request for discovery on the topic of how

Illinois Bell evaluates and compensates cable splicers’ managers. The plaintiffs

argued that the discovery was relevant because it might show that efficiency

pressure motivated managers to overlook time cable splicers spent working off-the-

clock.    After extensive argument on the motion the plaintiffs were unable to

persuade this court that those evaluation and compensation policies are relevant to

the conditionally certified claims. In granting the protective order, this court noted

that it conditionally certified the class “based on the named Plaintiffs’ FLSA




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allegations . . . about ‘unpaid lunch breaks and post-shift work completing time

sheets.’” See Blakes, 2012 WL 5862747, at *1. The court specifically said that

“performance evaluation factors that may have encouraged and motivated first level

supervisors and managers to impose unreasonable efficiency goals for their

subordinate cable splicers” were not relevant to the certified issues. Id. Despite

that decision, the plaintiffs never sought to modify the conditionally certified class

to encompass that new theory and the possible expanded class of cable splicers it

might cover before bringing this new theory as its primary shield in defense against

Illinois Bell’s decertification motion. See, e.g., Mancuso v. Florida Met. Univ., Inc.,

09-61984-CIV, 2010 WL 3702511, at *4 (S.D. Fla. Sept. 16, 2010) (denying motion to

expand conditionally certified FLSA class based on evidence generated in course of

discovery); Brasfield v. Source Broadband Servs., LLC, 257 F.R.D. 641, 643 (W.D.

Tenn. 2009) (granting motion to expand conditionally certified FLSA class based on

deposition testimony suggesting similarity among nationwide class).

      Other courts have suggested that named plaintiffs in FLSA cases should not

be allowed to engage in the kind of bait-and-switch that the plaintiffs’ new theory

represents here. For example, where opt-in plaintiffs testify during the discovery

phase that they are seeking recovery for additional claims that were never pled by

the named plaintiffs, that discrepancy weighs in favor of decertification.         See

Gatewood v. Koch Foods of Miss., Inc., 3:07CV82-KS-MTP, 2009 WL 8642001, at *16

(S.D. Miss. Oct. 20, 2009); see also Hart v. JPMorgan Chase Bank, N.A., 8:12-cv-

00470-T-27TBM, 2012 WL 6196035, at *2 n.8 (M.D. Fla. Dec. 12, 2012) (noting that




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plaintiffs should not seek conditional certification of FLSA claim based on theory

that was never pled in the complaint). That consistency is necessary because “[i]t is

patently unfair to expect a defendant to respond to a theory of liability that shifts

with each response.” Adair v. Wisconsin Bell, Inc., 08-C-280, 2008 WL 4224360, at

*5 (E.D. Wis. Sept. 11, 2008).

      By waiting until their response to Illinois Bell’s decertification motion to

raise their efficiency-pressure theory, the plaintiffs have essentially asked this court

to expand the opt-in class to encompass this new theory despite this court’s previous

statements that the conditional class does not include “any possible FLSA claim

under the sun,” and that evidence surrounding managers’ pressure to maximize

efficiency is irrelevant to the claims the plaintiffs asked the court to conditionally

certify. See Blakes, 2011 WL 2446598, at *8; Blakes, 2012 WL 5862747, at *1. The

plaintiffs could have sought to have the court modify the conditional certification

order earlier, but having failed to do so, they will not be allowed at this late stage to

expand “the criteria for participation in the collective action.” See Cottle v. Falcon

Holdings Mgmt., LLC, 892 F. Supp. 2d 1053, 1074 (N.D. Ind. 2012). As Illinois Bell

suggests, modifying the certified collective now could ensnare opt-in plaintiffs in a

theory of liability that implicates them in a practice of hiding time from their

employer in a manner that at least arguably violates Illinois Bell’s Code of Business

Conduct. (See R. 196, Ex. SS, Zang Decl. Ex. 1.) None of them consented to that

implication when they opted into the class. Accordingly, this court agrees with




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Illinois Bell that the plaintiffs should not be allowed to avoid decertification based

on a theory they never asked the court to conditionally certify.

      2.     Illinois Bell’s Substantive Challenge to the Efficiency-Pressure
             Theory

      Even assuming that the plaintiffs should be permitted to defend against

decertification based on a theory of similarity they never presented at the

conditional-certification stage, this court concludes that they have not demonstrated

that their MSOC efficiency theory passes second-stage scrutiny.               At the

decertification stage, this court considers: “(1) whether the plaintiffs share similar

or disparate factual and employment settings; (2) whether the various affirmative

defenses available to the defendant would have to be individually applied to each

plaintiff; and (3) fairness and procedural concerns.” Strait, 911 F. Supp. 2d at 718

(internal quotation and citations omitted).      These factors taken together here

support the conclusion that the plaintiffs are insufficiently similar on the basis of

their efficiency-pressure theory.

             (a)    The MSOC System Does Not Show That Cable Splicers’
                    Factual and Employment Settings Are Similar

      Although the plaintiffs need not show that their situations are identical to

justify proceeding as a collective action, they must do more than simply claim that

Illinois Bell violated the FLSA by denying them all overtime pay. See Russell v.

Illinois Bell Tel. Co., Inc., 721 F. Supp. 2d 804, 812 (7th Cir. 2010). To demonstrate

their similarity, the plaintiffs must identify a “factual nexus that binds the

plaintiffs together as victims of a particular violation of the overtime laws.” Id.




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(quotation omitted).   In analyzing similarity, the court looks to factors like the

plaintiffs’ job locations, duties, supervision, and common policies. See Strait, 911 F.

Supp. 2d at 723. Where individualized circumstances and questions predominate

over common issues, decertification is appropriate. See Alvarez, 605 F.3d at 449;

Camilotes, 286 F.R.D. at 346.

      Conceding that the evidence gleaned in discovery in this case shows that the

cable splicers who have opted into this case work in 48 different garages,

underneath 209 different supervisors, and perform at least three subsets of job

duties in work environments that vary by assignment, to demonstrate their

similarity as a class the plaintiffs argue that it is enough that they are all subject to

the MSOC rating system and the JAM time-keeping system. Many of the deposed

cable splicers acknowledged that when they reported overtime work, Illinois Bell

paid them for it, whether or not they sought preapproval. (See, e.g., R. 217, Ex. 25,

Chambers Dep. at 53; R. 194, Ex. J, Deckys Dep. at 125, 153, 293-94, Ex. L, Ericson

Dep. at 23.) But the plaintiffs’ theory is that the MSOC/JAM combination violates

the FLSA because it intimidates cable splicers into hiding time that they spend to

complete their daily tasks in an effort to meet what they describe as impossible

efficiency expectations.   They argue that all cable splicers who opted into this

lawsuit perceive this system to be a disciplinary one and are forced to “hide time”

from Illinois Bell in an effort to avoid falling into the bottom quintile. They argue

that uncertainty in whether they will be able to meet expectations on a day-to-day

basis forces them to “bank hours” by hiding time spent on a task to maximize their




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efficiency numbers and to offset other days when they may not be able to complete

their tasks according to Illinois Bell’s expectations. According to the plaintiffs, this

pattern of behavior shows that the MSOC efficiency ratings and JAM time-keeping

system together are a common policy that results in routine underpayment of cable

splicers, in violation of the FLSA.

      The problem with the plaintiffs’ theory is that the “common policy” they

identify hinges on all opt-in cable splicers responding to efficiency pressure in a

uniform way, but the evidence mined in discovery does not bear that out. Only 18 of

the 346 opt-in plaintiffs in addition to the named plaintiffs have been deposed, but

even within that small sample, the testimony shows that getting to the bottom of

whether and when cable splicers “hid time” will require the court to engage in an

overwhelming amount of individual inquiries. For example, several of the deposed

plaintiffs testified that whether it was necessary for them to work through lunch

without reporting it in an attempt to make their MSOC numbers depended on the

nature of the job assigned and the tasks they were expected to complete in a given

day. (R. 193, Ex. E, Blakes Dep. at 183-84; R. 194, Ex. I, Crowder Dep. at 167-68;

R. 195, Ex. DD, Williams Dep. at 282.)         Some plaintiffs admitted that it was

sometimes possible for them to make their targets without having to skip lunch.

Whether that was true turned on what the particular job looked like, the

individual’s experience level, and whether they were assigned to work together with

experienced or particularly skilled workers. (R. 193, Ex. D, Arvizu Dep. at 99-101,

125; R. 194, Ex. N, Hunt Dep. at 319.) Even factors like the weather and whether




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there were dogs in the yard at a particular job site can impact the cable splicers’

numbers. (R. 193, Ex. D, Arvizu Dep. at 100-01.) For example, Blakes testified that

whether he was able to meet his efficiency numbers without working through lunch

depended “on the task at hand,” and although he sometimes is able to complete his

assigned tasks in the allotted time without working through lunch, he could not

identify which jobs caused him to work through lunch and which did not. (Id. Ex. E,

Blakes Dep. at 183:19-185:5.) He further testified that there are no documents or

other materials he could review to determine which jobs forced him to work through

lunch. (Id.) One cable splicer testified that prior to June 2012 he never worked

through lunch in an attempt to meet his MSOC target. (R. 217, Ex. 11, Smith Dep.

at 116.) Others testified that they did not pay attention to or stopped looking at

their MSOC numbers.      (R. 228, Ex. WW, Palenske Dep. at 135; R. 193, Ex. C,

Anderson Dep. at 98.) When another opt-in plaintiff was asked whether he ever

worked through a lunch break without reporting the time, he answered that he did

not know. (R. 195, Ex. V, Rentschler Dep. at 77:17-19.) This testimony shows that

even if cable splicers were hiding their time, they were not doing so in accordance

with any reliable pattern or routine.        Instead, these variations in testimony

demonstrate that pressure stemming from MSOC impacted cable splicers in

different ways on different days and sometimes not at all.

      Dr. Johnson’s report reinforces the conclusion that whether MSOC pressure

forced cable splicers to work through lunch or otherwise off-the-clock varies with

each plaintiff’s individual circumstances.    He prepared charts of the daily and




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monthly efficiency scores of four of the opt-in plaintiffs and noted that those scores

fluctuated on a daily basis. (R. 193, Ex. B, Johnson Report at 27.) He opined that

the fluctuations are explained by factors including the changes in a cable splicer’s

number of job assignments, the difficulty of an assigned job, and the relative skill of

the cable splicer or his partner. (Id.) According to Dr. Johnson, the only way to

determine whether a given cable splicer would in fact have the incentive to work

through a meal break to maintain or improve an efficiency score is to look not only

at the plaintiff’s individual testimony, but also at his performance, assignments,

and prior MSOC scores. (Id.) Dr. Johnson’s opinion in this regard apparently is

shared by plaintiff Blakes, who admitted in his deposition that the only way to tell

which technicians were manipulating their numbers to boost their MSOC scores

would be to ask them directly. (Id. Ex. E, Blakes Dep. at 184-85, 190, 194, 222-23.)

In light of the need for these individual inquiries to get to the bottom of liability, it

is difficult to see how the MSOC system manifests in an illegal common policy for

purposes of the plaintiffs’ similarity argument.      See Ginsburg v. Comcast Cable

Commn’cs Mgmt., LLC, No. C11-1959RAJ, 2013 WL 1661483, at *8 (W.D. Wash.

Apr. 17, 2013) (concluding class action unmanageable where claim based on

systematic efficiency pressure required individual inquiries about how often, how

much, and why employees worked off-clock).

      Moreover, the plaintiffs’ theory of liability hinges on the opt-in cable splicers

uniformly fearing being disciplined or losing their jobs if they fall into the bottom

quintile for efficiency (it is this fear, the theory goes, that leads to uniform




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underreporting). But the opt-in plaintiffs’ testimony does not support a conclusion

that there was a uniform culture of discipline stemming from the MSOC numbers.

Several plaintiffs testified that they had never been disciplined or could not recall

being disciplined even though some of their numbers had put them in the bottom

quintile. (R. 193, Ex. E, Blakes Dep. at 195:23-196:1, Ex. H, Clark Dep. at 270:23-

271:9; R. 228, Ex. KK, Deckys Dep. at 199.) Several testified that they did not know

anyone who had ever been disciplined for underperforming efficiency-wise.

Moreover, the kinds of discipline the plaintiffs allude to in their response include

supervisors reviewing their work more frequently, giving low-performing cable

splicers “constructive criticism,” and otherwise engaging in coaching.       Although

there is evidence that consistently poor efficiency ratings could also lead to

supervisors implementing performance improvement plans (“PIP”), at least one opt-

in plaintiff testified that he does not regard a PIP as being discipline in the caliber

of a suspension or pay-docking. (R. 217, Pls.’ Resp. at 12 & Ex. 10, McKey Dep. at

142.) And according to Illinois Bell’s Manager’s Guide to Corrective Action, the

“primary goal of a PIP is to improve an employee’s performance through training

and coaching,” via “regularly scheduled feedback meetings.”          (R. 230, Ex. 60,

Manager’s Guide to Corrective Action at 12.) Even a union newsletter the plaintiffs

point to in support of their assertion that being in the bottom quintile subjects them

to discipline acknowledges that “AT&T can’t discipline for numbers alone.” (R. 217,

Pls.’ Resp. at 14 & Ex. 36, IBEW at 12.) Whether the plaintiffs’ claim that the

MSOC standards actually operated as a disciplinary bludgeon is a merits question,




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but what matters for purposes of the current motion is that the plaintiffs have been

unable to show any uniformity in the plaintiffs’ experience of MSOC-related

discipline. Accordingly, all that is left is the opt-in plaintiffs’ speculative fear of

what could happen if they fall into the bottom quintile.          But that collective

speculation is not enough to bind a class. See, e.g., Griffith v. Wells Fargo Bank,

N.A., No. 04:11-CV-1440, 2012 WL 3985093, at *5 (S.D. Tex. Sept. 12, 2012) (noting

that pressure is a subjective experience that varies with individual abilities and

experiences with supervisors); Richardson v. Wells Fargo Bank, N.A., No. 4:11-CV-

00738, 2012 WL 334038, at *5 (S.D. Tex. Feb. 2, 2012) (“Subjective beliefs or fear

about logging overtime hours is insufficient to establish an actual company-wide

policy.”).

       As Illinois Bell points out, this case is remarkably parallel to Boelk v. AT&T

Teleholdings, Inc., No. 12-cv-40-bbc, 2013 WL 261265, at *1 (W.D. Wis. Jan. 10,

2013), where the district judge refused to conditionally certify an FLSA collective

action based in part on a finding that the same efficiency-measurement system that

is at issue here could not support collective treatment of the claim that efficiency

goals forced employees to work off the clock there. In Boelk, a collective of field

technicians argued that the MSOC system compels them to work through their

meal breaks without reporting the work. Id. at *1-*2. The court determined that

the key question with regard to their claim is why they worked through their meal

breaks without reporting their time, but it concluded that the plaintiffs had not

shown “that this question could be resolved on a classwide basis.” Id. at *12. The




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court noted that the plaintiffs’ testimony revealed that whether they worked

through lunch because of efficiency pressure varied on a daily basis depending on

the nature of the work, the route involved, and the technician’s individual

circumstances.    Id.   Based on these variations, the court concluded that “the

common questions central to plaintiffs’ claim could not be resolved on a classwide

basis.” Id.

      Just as individual variations prevented certification in Boelk, the differences

in the opt-in plaintiffs’ testimony here demonstrate that it would be impossible to

resolve the question of whether the combination of the MSOC and JAM rating

systems compelled cable splicers to work off the clock on a classwide basis. The

testimony reveals that whether and when cable splicers hid time from the JAM

system turned on their daily assignments, their own past performance statistics,

and their personal tolerance for the risk of falling into the bottom efficiency quintile.

Because there is no way to determine on a collective basis whether and how often

cable splicers hid their time, the “common policy” the plaintiffs point to does not

establish that they are sufficiently similar to justify the continued collective

treatment of their claim. See Briggins v. Elwood TRI, Inc., 882 F. Supp. 2d 1256,

1258 (N.D. Ala. 2012) (noting that the difference between “a compensation system

that structurally results in unpaid overtime as opposed to one that pressures some

plaintiffs to work off the clock is significant, because the extent to which plaintiffs

worked off the clock—and whether such work even occurred—varies materially

among the class”).




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      In arguing against decertification the plaintiffs rely heavily on Brennan v.

Qwest Commuc’ns Int’l, Inc., No. 07-2024 ADM/JSM, 2009 WL 1586721, at *1

(D. Minn. June 4, 2009), a case that they argue has more in common with the facts

of this case than Boelk.        In Brennan, another FLSA case involving a

telecommunications company, the court denied the defendant’s motion to decertify a

class of network technicians who alleged that the defendant’s productivity

standards compelled them to work through lunch or before or after their shifts

without pay.    Id. at *1-*2.    But in analyzing whether the plaintiffs were

substantially similar in Brennan, the court noted that the defendant had not

unequivocally denied that the named and opt-in plaintiffs had “substantially the

same responsibilities” and performed “substantially the same tasks.” Id. at *3. The

court also noted that the plaintiffs had submitted evidence showing that at least

two supervisors from different facilities had instructed plaintiffs not to report

overtime and many of the plaintiffs had complained to their employer that the

productivity standards were impossible to meet. Id. at *5. Here, by contrast, the

cable splicers performed a number of different tasks depending on their role and

daily assignment and plaintiffs have pointed to no evidence that any of them

informed their supervisors that they were hiding time in the JAM system.

Although there is ample testimony that the deposed cable splicers complained

generally that the MSOC numbers were too demanding, several of the deposed

plaintiffs admitted that they never told their managers, or could not remember ever

telling their managers, that they were hiding time spent working during lunch to




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meet their MSOC numbers. (See, e.g., R. 217, Ex. 7, Blanchette Dep. at 50-51,

Ex. 14, Roberts Dep. at 299-300, Ex. 20, Blakes Dep. at 188, Ex. 21, Palenske Dep.

at 177; R. 193, Ex. E, Blakes Dep. at 160; R. 194, Ex. I, Crowder Dep. at 102; R. 228,

Ex. VV, Parro Dep. at 122.) Nor have the plaintiffs here pointed in their response

brief to evidence that any of their supervisors instructed them not to report

overtime when they worked through lunch. (Contrast with R. 193, Ex. E, Blakes

Dep. at 160; R. 217, Ex. 7, Blanchette Dep. at 51, Ex. 25, Chambers Dep. at 41-42;

R. 194, Ex. N, Hunt Dep. at 93 (all admitting supervisors never told them to hide

time or could not remember supervisors telling them to work through lunch).) On

the contrary, none of the managers who submitted affidavits here said that they

had ever instructed a cable splicer to change time sheets to eliminate unapproved

overtime or knew that cable splicers were working through lunch without reporting

their time. (See, e.g., R. 195, Ex. HH, Biba Decl. ¶¶ 3, 5, Ex. II, Burk Decl. ¶ 4,

Ex. KK, Hardy Decl. ¶ 6.) Accordingly, significant factors that supported similarity

in Brennan are not present in this case. Because the evidence here suggests that

the only way to get to the bottom of whether cable splicers routinely hid their time

from their supervisors in an effort to improve their MSOC standings would require

hundreds of individualized inquiries into the plaintiffs’ particular circumstances,

the plaintiffs’ efficiency-pressure theory simply does not support continued

collective treatment here.

      The plaintiffs’ reliance on Brennan is also misplaced because after that

decision issued, the Supreme Court clarified in the class-action employment




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discrimination context that individual decisions about how to enforce a company-

wide policy can preclude a finding of commonality among class members.3 See Wal-

Mart v. Dukes, 131 S. Ct. 2541, 2552 (2011). There, the plaintiff argued that Wal-

Mart’s corporate policy of allowing local supervisors to exercise discretion over

employment matters led to class-wide sex discrimination. Id. at 2554. The Court

noted that “it is quite unbelievable that all managers would exercise their discretion

in a common way without some common direction.”             Id. at 2555.   The Court

concluded that merely showing that Wal-Mart’s policy of allowing management

discretion produced a sex-based disparity was not enough to establish the existence

of a common question. Id. at 2556-57. Here, the plaintiffs’ assertion that they are

similar is based not on individual managers’ policy enforcement decisions, but on

the individual decisions of the plaintiffs themselves with respect to whether and

when to violate Illinois Bell’s time-keeping policies by hiding their time to inflate

their efficiency ratings. Just as the Supreme Court found it “quite unbelievable”

that managers would exercise their discretion in a uniformly discriminatory way,

here the plaintiffs have not established that cable splicers reacted to the pressure

created by the MSOC system in a uniform way.            Rather, as described above,

whether a cable splicer underreported time depended on a whole host of individual

circumstances that varied by day. Accordingly, the MSOC system does not give rise


3  Although the Supreme Court’s discussion in Wal-Mart focused on the standards
for class certification under Rules 23(a) and (b)(2), the Seventh Circuit has made
clear that “there isn’t a good reason to have different standards for the certification
of the two different types of action” and that the Rule 23 standards “are as relevant
to collective actions as to class actions.” See Espenscheid v. DirectSat USA, LLC,
705 F.3d 770, 774 (7th Cir. 2013).

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to the capacity of this proceeding to generate a common answer to the question

whether that system violates the FLSA.           See id. at 2551 (noting that class

treatment is appropriate only where it is possible “to generate common answers apt

to drive the resolution of the litigation”) (emphasis in original) (quotation omitted)).

      It should be noted that even if the evidence here supported the idea that all

cable splicers hide their time in a uniform way, the Seventh Circuit has cast doubt

on the idea that an employer is liable for its employees’ attempts to improve their

standing by manipulating their time records. See Espenscheid, 705 F.3d at 774. In

Espenscheid, the Seventh Circuit affirmed the district court’s decision to decertify

an FLSA collective of 2,341 technicians who alleged that management compelled

them to conceal from their time sheets time spent on certain tasks. Id. at 772-73.

Like the cable splicers here, the technicians in Espenscheid were paid on a piece-

rate system. Id. at 773. In concluding that the plaintiffs had not shown a workable

method under which to determine how often and why technicians underreported

their time, the court considered:

      the further complication presented by a worker who underreported his
      time, but did so . . . not under pressure by DirectSat but because he
      wanted to impress the company with his efficiency in the hope of
      obtaining a promotion or maybe a better job elsewhere—or just to
      avoid being laid off.

Id. at 774. The court characterized such conduct as “benign underreporting” and

distinguished it “from unlawful conduct by DirectSat.” Id. But if an employee’s

decision to underreport time to maximize his efficiency numbers in an attempt to

avoid being laid off is “benign,” see id., then the plaintiff’s efficiency-pressure theory




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does not stem from a common policy that violates the FLSA, see Farmer v. DirectSat

USA, LLC, No. 08 CV 3962, 2013 WL 2457956, at *7 (N.D. Ill. June 6, 2013)

(decertifying FLSA collective in light of Espenscheid in part based on inability to

distinguish between “benign” underreporting and unlawful conduct by defendant).

After Espenscheid, it is not at all clear that the common policy to which the

plaintiffs point here—even if it applied similarly to all of the opt-ins—is one that

could support a finding of liability at the merits stage.

        Finally, the plaintiffs’ attempt to characterize the points of dissimilarity as

pertaining only to damages, rather than liability, is unconvincing. Although it is

true that variations in damage calculations among members of a collective often are

not enough to justify decertification, see Messner, 669 F.3d at 815 (collecting cases),

here the evidence demonstrates that there are not just variations in the amount of

time cable splicers hid in the JAM system to improve their MSOC efficiency

numbers, but whether they did so at all on a given day (or ever).4 Thus even if

Illinois Bell can be held responsible for its employees’ individual decisions to

manipulate their time sheets to improve their efficiency ratings, whether it is liable

to a particular cable splicer depends on that employee’s particular circumstances.


4  Even if the individual variations thoroughly catalogued by Illinois Bell go more to
the question of damages—specifically, how often (rather than whether) MSOC
forced cable splicers to work through lunch—recent cases suggest that collective
treatment is inappropriate where individual damages issues overwhelm a common
liability question. See Comcast Corporation v. Behrend, 133 S. Ct. 1426, 1433
(2013); Espenscheid, 705 F.3d at 774-75 (casting doubt on the possibility of
extrapolating from a representative sample of plaintiffs to the class as a whole the
amount of unpaid overtime where a piece-rate time-keeping system like JAM is in
play).



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See, e.g., Creely v. HCR ManorCare, Inc., 920 F. Supp. 2d 846, 857 (N.D. Ohio 2013)

(noting that where the “right to compensation hinges on” the plaintiffs’ individual

experiences it “is unclear how proceeding collectively and using representative

testimony would be fair or useful”). For all of these reasons, this court agrees with

Illinois Bell that the plaintiffs have not made a sufficient second-stage showing that

any common policy connects the cable splicers who opted into the collective in a way

that renders them similarly situated. See Camilotes, 286 F.R.D. at 345-46.

             (b)    Illinois Bell’s Individual Defenses

      Illinois Bell also argues convincingly that the plaintiffs’ efficiency-pressure

theory is inappropriate for collective treatment based on what it characterizes as

the individualized inquiries necessary to resolve its defense that it lacked

knowledge that cable splicers were hiding their time and its plan to attack the

credibility of the opt-ins’ testimony about their response to the MSOC efficiency-

rating system.     In addressing this factor the court asks “whether defendants’

defenses could be applied across the board to plaintiffs’ claims and potential

plaintiffs’ claims or whether many and perhaps disparate defenses could be raised.”

Russell, 721 F. Supp.2d at 820 (quotation omitted). If the defense would require the

consideration of facts specific and unique to individual opt-in plaintiffs, this factor

weighs against continued certification. See Camilotes, 286 F.R.D. at 352.

      With respect to Illinois Bell’s knowledge defense, the plaintiffs will be

obligated to show that Illinois Bell had actual or constructive knowledge that they

were hiding time on their time sheets. See Kellar v. Summit Seating, Inc., 664 F.3d




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169, 177 (7th Cir. 2011).   Although an employer has a duty to ensure that its

employees are not engaging in work it does not want performed, “the FLSA stops

short of requiring the employer to pay for work it did not know about, and had no

reason to know about.” Id. And while knowledge of a supervisor can be imputed to

the employer, Cunningham v. Gibson Elec. Co., Inc., 43 F. Supp. 2d 965, 975 (N.D.

Ill. 1999), access to records showing that employees worked unpaid overtime is not

necessarily sufficient to show constructive knowledge, White v. Baptist Mem. Health

Care Corp., 699 F.3d 869, 874 (6th Cir. 2012).     An FLSA claim is ill-suited to

collective treatment where variations in the opt-ins’ work sites and managers mean

that individual factual circumstances have to be assessed to determine whether an

employer was aware of off-the-clock work. See Hawkins v. Securitas Sec. Servs.

USA, Inc., 280 F.R.D. 388, 400 (N.D. Ill. 2011); see also Zivali v. AT&T Mobility,

LLC, 784 F. Supp. 2d 456, 468 (S.D.N.Y. 2011) (decertifying FLSA collective action

where claims turned on individual managers having actual or constructive

knowledge of off-the-clock work).

      Here, determining whether Illinois Bell had actual or constructive knowledge

that all cable splicers routinely hid time to improve their efficiency ratings would

require proof specific to individual supervisors and locations. See Camilotes, 286

F.R.D. at 352. As pointed out above, the opt-in plaintiffs worked in 48 different

garages and under 209 different supervisors. (R. 196, Ex. UU, Zollman Decl. ¶ 4.)

The record suggests that there will be wide variations in whether those supervisors

had actual or constructive knowledge that opt-in plaintiffs were hiding time to




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maximize their efficiency ratings. Several opt-in plaintiffs admitted that they never

told their supervisors that they had to work through meal breaks so as to try to

maximize their efficiency ratings. (R. 193, Ex. F, Blanchette Dep. at 51; R. 217,

Ex. 25, Chambers Dep. at 41:14-21, 57:9-11; R. 228, Ex. VV, Parro Dep. at 122.) At

least one opt-in plaintiff testified that even when his supervisor told him not to

work through lunch he would do so anyway and not tell his supervisor. (R. 195,

Ex. Z, Smith Dep. at 73-74.) Another testified that unless a manager has cable

splicing experience, he would have no way of knowing that cable splicers hide time

to improve their MSOC numbers. (R. 193, Ex. E, Blakes Dep. at 190:22-191:18.)

That makes sense, because the very nature of the plaintiffs’ efficiency-pressure

argument hinges on management not realizing that cable splicers are under-

reporting their time.    In other words, the strategy of hiding time to improve

efficiency numbers only works if managers are unaware of the practice, but if an

employee “deliberately prevents the employer from acquiring knowledge of the

overtime work, the employer’s failure to pay for the overtime hours is not a

violation” of the FLSA. See Harvill v. Westward Comm’cs, LLC, 433 F.3d 428, 441

(5th Cir. 2005) (quotation omitted).

      Once again, the Boelk case is instructive here. After the court denied the

plaintiffs’ motion to certify the FLSA collective action in Boelk, the plaintiffs moved

for reconsideration arguing that the court “failed to recognize the importance of

their contention that defendants’ management knew or should have known that

technicians worked through their lunch breaks without reporting or being paid for




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the work.” Boelk v. AT&T Teleholdings, Inc., 12-CV-40-bbc, Doc. 124, Op. & Order

at 3 (W.D. Wis. March 11, 2013).      Even though the plaintiffs submitted some

evidence that Boelk told the defendants’ labor relations manager that the efficiency

ranking system was causing technicians to work through their lunch breaks, the

court concluded that his knowledge was insufficient to establish “‘companywide

knowledge of underreporting.’” Id. at 9-10. Although the plaintiffs argued that as

long as the defendants knew that technicians were working through lunch it did not

matter why they did so, the court concluded that the reasons could not be separated

from the defendants’ knowledge. Id. Accordingly, the court concluded that the

labor relations manager’s knowledge of underreporting “is not sufficient to show

that the question of defendants’ knowledge could be resolved on a classwide basis

using common proof.” Id. at 10-11.

      As in Boelk, here the evidence is insufficient to show that the question of

Illinois Bell’s knowledge of underreporting could be resolved without resorting to

myriad individual inquiries.   The deposed plaintiffs testified that whether they

worked through lunch to massage their numbers turned on many factors, including

the day’s assignment, their assigned partner, and their personal desire to bank

time. Whether their managers realized they were hiding time would similarly turn

on individual questions regarding the circumstances of each plaintiff, especially

because many of the opt-in plaintiffs admitted they never told their managers about

the pressure they felt from the efficiency crunch. Given these circumstances, there




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simply is no way to resolve the question of Illinois Bell’s knowledge via common

proof that applies to the entire collective.

      Illinois Bell’s argument that its credibility defenses preclude ongoing

certification is also well-taken.      According to Illinois Bell, decertification is

appropriate because it has “ample cause for impeaching individual technicians

through cross-examination,” and it would be deprived of that opportunity if the case

proceeds collectively. (R. 226, Def.’s Reply at 84.) The plaintiffs argue that their

credibility is a matter for the fact-finder to resolve and not an individualized

defense that can preclude certification. See, e.g., Pendlebury v. Starbucks Coffee

Co., 518 F. Supp. 2d 1345, 1362-63 (S.D. Fla. 2007) (noting that “contradictions are

matter of credibility for the factfinder, not individualized defenses” (emphasis in

original)). But here, there is no reason to think that any cable splicer could give

truly representational testimony regarding the collective habits of cable splicers

with respect to whether, when, why, and how they chose to manipulate their time

records to increase their efficiency numbers. In these circumstances, to resolve

whether cable splicers worked through lunch or otherwise hid time to maximize

their efficiency numbers a fact-finder would have to “pick the class apart, plaintiff

by plaintiff, going into the day-to-day job duties of each of the plaintiffs to prove

their defenses.”    See Espenscheid v. DirectSat, USA, 09-cv-625-bbc, 2011 WL

2009967, at *7 (W.D. Wis. May 23, 2011) (internal quotation omitted), aff’d by

Espenscheid, 705 F.3d at 774. Given the individual circumstances inherent in that

question, it is not an inquiry that could be resolved at trial by looking to the




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testimony of one cable splicer, or even a group of cable splicers. See Martin v.

Citizens Fin. Group, Inc., No. 10-260, 2013 WL 1234081, at *6 (E.D. Pa. March 27,

2013) (noting that where question of liability hinges on truthfulness of employee

testimony “resolving this question with regard to one manager and one employee

would not accomplish the task for any of the others”).         For these reasons, the

individualized defense factor also weighs in favor of decertification.

             (c)    Fairness & Procedural Concerns

      The final factor the court considers in determining whether the suit should

continue on a collective basis turns on fairness and procedural concerns. See Strait,

911 F. Supp. 2d at 718. The collective action device is designed to promote judicial

economy and to protect the interests of plaintiffs whose damages claims might be

too small to justify the high costs of an individual lawsuit. But those interests are

not served where the “need to address individualized factual issues” cuts against

any efficiency to be gained from collective treatment and makes the aggregation of

claims unmanageable. See Hundt v. DirectSat USA, LLC, __ F.R.D. __, 2013 WL

3338586, at *8 (N.D. Ill. July 1, 2013); see also Camilotes, 286 F.R.D. at 353 (“While

Plaintiffs’ desire to litigate collectively for economic reasons is understandable, it

does not override the negative effects that certification is very likely to have on the

fairness and manageability of the proceedings.”). Because the plaintiffs here have

not shown that the efficiency pressure they allege stems from the MSOC

parameters equates to a common policy, and because of the diversity of their

individual experiences with respect to how that pressure plays out, those differences




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“undercut any efficiency or cost-saving arguments as the collective will not be able

to rely upon meaningful collective proof.” See Strait, 911 F. Supp. 2d at 731. In the

end, all three of the relevant factors weigh against the continued collective

treatment of the plaintiffs’ FLSA claim to the extent that it is based on their

assertion that efficiency pressure requires all cable splicers to underreport their

time. Accordingly, even if this claim had been certified at the first stage, this court

agrees with Illinois Bell that it could not survive the scrutiny that applies at the

decertification stage.

C.    Collective Treatment of the Opt-In Plaintiffs’ Proposed Sub-Classes

      In response to the motion for decertification, the plaintiffs propose that as an

alternative to all opt-in cable splicers pursuing their efficiency-pressure theory as

an entire collective, this court could divide the cable splicers into three sub-

classes—consisting of copper and fiber cable splicers, DEG technicians, and DAVAR

technicians—to address alleged FLSA violations stemming from policies that are

specific to each of those groups. (See R. 230, Pls.’ Sur-Reply at 28-29.) As discussed

above, in their original motion for conditional certification the plaintiffs argued that

cable splicers are similarly situated because they work through lunch or before or

after their shifts for three reasons: (1) Illinois Bell requires them to maintain the

security of job sites; (2) they are required to travel between job sites during their

lunch hours; and (3) they lack sufficient time to complete their time sheets given

computer shortages at the garages combined with restrictions governing when they

can return to their garage at the end of a shift. Under this court’s reading of the




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plaintiffs’ responses to the current motion, it appears that they have abandoned

their theory that inter-site travel cause cable splicers to work off the clock. Instead,

their proposed sub-classes focus on the idea that Illinois Bell’s policies requiring

members of each sub-class to maintain the security of job sites forces them to

perform work during what would otherwise be their lunch hour and before and after

their shifts. (Id. at 29.) The plaintiffs argue that Illinois Bell’s liability with respect

to each sub-class can be determined collectively within those groups and then

individual damages questions can be sorted out by a special master.

       The Seventh Circuit has made it clear that district courts have “wide

discretion to manage collective actions.” Alvarez, 605 F.3d at 449. That discretion

includes parceling a collective action into sub-classes to sort out FLSA claims. See

id. at 449-50. In some circumstances “a collective action including sub-classes is the

most efficient way to resolve” a group of plaintiffs’ FLSA claims. See Russell, 721 F.

Supp. 2d at 823. Although dividing a collective action into sub-classes can create

complications, the use of sub-classes “may be more efficient than the alternative of

requiring plaintiffs to bring many individual claims or a variety of smaller collective

actions.”   Medina v. Happy’s Pizza Franchise, LLC, No. 10 CV 3148, 2012 WL

379751, at *3 (N.D. Ill. Feb. 3, 2012).          For the following reasons, this court

concludes that the plaintiffs have not met their burden of showing that the

members of the proposed sub-classes are similarly situated with respect to Illinois

Bell’s policies requiring cable splicers to maintain the security of their assigned job

sites and to leave from and return to their garages at a specified time.




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      1.     The Factual and Employment Settings of the Proposed Sub-
             Classes

      The plaintiffs argue that there is sufficient similarity in the factual and

employment settings among the cable splicers in each individual sub-class to

warrant proceeding with their claims on a collective basis. In analyzing similarity

among the sub-classes, the court considers the evidence regarding their job

locations, duties, and supervision, as well as any common policies that apply among

the sub-class as a whole. See Strait, 911 F. Supp. 2d at 723. The plaintiffs contend

that isolating the opt-ins into sub-classes by three specific job functions is a work-

around for any dissimilarities this court might find given the cable splicers’ varying

job duties and overall work environments. But ultimately, even when the cable

splicers are divided into smaller classes based on the functions they perform, the

trier of fact would still have to analyze individual questions related to the plaintiffs’

particular responses to alleged MSOC efficiency pressure in order to resolve their

FLSA claims. Accordingly, as described below, this court determines that the same

individual variations that preclude collective treatment of the class of opt-in cable

splicers as a whole precludes a finding of the requisite degree of similarity among

opt-in plaintiffs in each sub-class.

             (a)    Copper and Fiber Splicers

      The plaintiffs argue that the specific job requirements for copper and fiber

splicers render them sufficiently similar to justify litigating their claims collectively

as a sub-class. They have submitted evidence showing that Illinois Bell copper and

fiber splicers perform their work in manholes, where they are responsible for toning



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and tagging pairs of cable. (R. 217, Ex. 7, Blanchette Dep. at 11:19-12:1.) Working

in a manhole requires significant set-up tasks, including pulling the lid off the

manhole and setting up a crown and guard, setting up a blower and heater in the

winter, purging the manhole, and testing for explosive gas. (Id. Ex. 46, Harn Dep.

at 225: 22-25, 227:18-228:22.) At the end of a job the copper and fiber cable splicer

must perform those tasks in reverse. (Id. at 229:6-229:8.) Their work requires

them to carry a variety of equipment to each manhole, including a manhole guard,

gas analyzer, blower, heater, continuous gas monitor, and various other devices.

(Id. at 227:18-228:22.)

      According to the plaintiffs, the particular duties of copper and fiber splicers

routinely require them to work through lunch or before or after their shifts.

Specifically, the plaintiffs assert that Illinois Bell’s policies setting forth a precise

time frame in which cable splicers have to leave or return to their garage force

copper and fiber splicers to work before their shift to gather the equipment they

need in order to leave the garage at the specified time. (R. 217, Pls.’ Resp. at 33.)

They also point to Illinois Bell’s lunch policies stating that employees working in

manholes “may not break down the work location to travel to lunch” or leave the

manholes unattended during their lunch break.             (Id. Ex. 32, 2008 Telecom

Operations at 3.) The policy states that copper and fiber splicers must carry their

lunch when working in a manhole. (Id.)

      If this sub-class presented a straight-forward claim that, as a rule, Illinois

Bell does not pay copper and fiber splicers for the time they spend maintaining the




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security of manholes during what otherwise would be their lunch break, the

similarity analysis would be fairly straight-forward. But as the plaintiffs concede,

under the terms of their CBA if an employee cannot leave a job site during lunch, “it

is assumed no lunch period has been taken.”         (R. 217, Ex. 34, CBA § 17.11.)

Although the JAM time-keeping is set up so that copper and fiber splicers have to

manually report that they have worked though lunch in order for that assumption

to apply, the plaintiffs do not argue that Illinois Bell refuses to pay them when they

use that override to report working through lunch. Instead, they again fall back on

the premise that they routinely hide the fact that they have not taken a lunch

break—or have worked pre- or post-shift to gather or replenish their equipment—to

improve their apparent efficiency with respect to their MSOC ratings. (R. 217, Pls.’

Resp. at 44.) But the same wild variations that characterize the collective of cable

splicers as a whole pertain to the sub-class of copper and fiber splicers when it

comes to this claim. For example, more than one member of this group testified

that he sometimes took his lunch despite working at a manhole, several testified

that they could leave for lunch when working at a manhole with a partner, and at

least one of the deposed copper and fiber splicers never worked in a manhole at all.

Given those variations, there is no way to resolve whether the combination of

Illinois Bell’s lunch-hour policies and the MSOC efficiency ratings routinely caused

copper and fiber splicers to work through lunch or to hide time spent gathering or

replenishing materials pre- or post-shift.    It simply is not a question that the

testimony of a handful of opt-in plaintiffs can answer for the sub-class as a whole.




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See Jonites v. Exelon Corp., 522 F.3d 721, 725-26 (7th Cir. 2008). Accordingly, the

plaintiffs have not shown the requisite level of similarity among copper and fiber

splicers.

                (b)   DAVAR and DEG Technicians

          The plaintiffs also argue that DAVAR and DEG technicians are similarly

situated among themselves based on the respective impact of Illinois Bell’s policies

regarding maintaining the security of equipment. DAVAR technicians verify cable

pairs and test the quality of those pairs. (R. 217, Ex. 19, Anderson Dep. at 20-21.)

The testing requires DAVAR technicians to carry expensive equipment with them,

including two computers and a generator. Illinois Bell policies make clear that they

cannot leave that equipment unattended. (Id. at 108:17-108:22.) A DEG technician

troubleshoots and maintains end-user equipment in systems that have already been

installed. (Id. Ex. 21, Palenske Dep. at 10:12-11:4.) DEG technicians use a laptop

computer on which they can enter their time in the JAM system.           (Id. Ex. 7,

Blanchette Dep. at 90:12-90:23.) According to the plaintiffs, DEG technicians and

DAVAR technicians are similarly situated among themselves because the amount of

time it would take them to secure their equipment so they can take a lunch break is

too onerous to justify taking lunch, but according to them, Illinois Bell docks their

pay for lunch each day whether or not they work through. (R. 230, Pls.’ Sur-Reply

at 29.)

          According to the plaintiffs, the opt-ins are similar within these two sub-

classes because the MSOC standards give them incentive to work through lunch so




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they do not have to take the time to break down and set their equipment back up

before and after their break. (R. 217, Pls.’ Resp. at 33.) According to them, MSOC

also gave DEG technicians in particular incentive to work off the clock before their

shift started, to allow them to boot up their computers and log on before their shift

to increase their efficiency standings.     (Id.)   But because their arguments for

similarity of these sub-classes come back to the idea that they were not paid for all

of their time because of their individual decisions to underreport their time to

improve their efficiency ratings, the same individual variances will apply. There is

no way to determine from Illinois Bell’s lunch break and equipment security policies

whether they forced individuals within these sub-classes to work through lunch or

otherwise off the clock without looking at how those policies applied to each

individual’s circumstance on a given day.        In other words, there is no way to

determine from the policies or the employees’ time sheets how members of these

subgroups spent their lunch hour and whether the time was spent primarily for the

benefit of the employer. Because the liability questions with respect to these sub-

classes require individualized assessments, the plaintiffs have not shown that these

employees are sufficiently similar to justify continued collective treatment.

      2.     Remaining Considerations Within the Proposed Sub-Classes

      Given that the FLSA claims within the proposed sub-classes hinge on

whether individuals in those sub-classes intentionally worked off the clock without

reporting it to improve their efficiency ratings, the same individualized defenses

that Illinois Bell points to with respect to a class composed of all cable splicers apply




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within each sub-class as well. Namely, whether the managers in each sub-class

should have known their employees were hiding their time and the credibility of the

sub-class members can only be resolved through individual testimony. And given

that the job locations and conditions for technicians within each sub-class varied on

a daily basis, there is no discrete and predictable routine that would obviate the

need for individual defenses. See Marshall v. Amsted Rail Co., Inc., No. 10-CV-

0011-MJR-SCQ, 2012 WL 5499431, at *11 (S.D. Ill. Nov. 13, 2012).

        Furthermore, all of the variations among individuals within each sub-class

with respect to what triggered their decisions to hide time, the efficiency gains that

drive division of collectives into sub-classes would not be present here. This court is

mindful that the purpose behind § 216(b) is to allow the pooling of resources to

make it possible for common claims to be litigated where litigating individual

claims may be cost-prohibitive. See Hoffman-LaRoche v. Sperling, 493 U.S. 165,

170 (1989). But where, as here, individual questions inevitably would result in

numerous “mini trials” to get to the bottom of liability questions, there is no gain to

be derived from the collective approach.       See Zivali, 784 F. Supp. 2d at 469.

Although the court is sympathetic to the plaintiffs’ desire to pool their resources in

their attempt to vindicate their FLSA claims, that factor is not enough to outweigh

the significant barriers to getting to the bottom of MSOC-related liability on a

collective basis. Accordingly, this court concludes that the proposed sub-classes do

not cure the problems of dissimilarity that preclude continued collective treatment

here.




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D.    The Plaintiffs’ Conditionally Certified Claim Regarding Unpaid Post-
      Shift Work

      Having concluded that continued certification is inappropriate with respect to

the plaintiffs’ MSOC-related theory of similarity, the court turns to the aspects of

the case that remain unrelated to the theory that cable splicers are similar based on

their individual decisions to hide time to inflate their efficiency scores─the claim

that the plaintiffs are required to complete time sheets post-shift without pay. This

is the only aspect of the case that appears to have legs independent of the idea that

MSOC forces cable splicers to hide time. That is because it is not MSOC pressure

that the plaintiffs argue forces them to stay late to fill out time sheets, but rather

Illinois Bell’s requirement that they return to the garage no earlier than 3:10 p.m.

That requirement leaves cable splicers only 20 minutes to complete their end-of-day

tasks and fill out their time sheets, which, according to the plaintiffs, often results

in them working past 3:30 p.m. without pay to complete their JAM paperwork.

(R. 217, Pls.’ Resp. at 21-23.) They assert that this is a universal experience among

cable splicers, and accordingly, argue that they are similarly situated with respect

to this claim.

      Preliminarily, Illinois Bell argues that this is another “new” theory that the

court should disregard. But unlike their MSOC-related arguments, the plaintiffs

put Illinois Bell on notice regarding the post-shift claim in their amended

complaint. (R. 11, Am. Compl. ¶¶ 28-32.) There, the plaintiffs specifically cited the

20-minute period at the end of their shift as a factor contributing to unpaid

overtime. (Id. ¶ 28.) Moreover, the time crunch caused by that required return



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period is logically connected to the plaintiffs’ theory that time-pressure stemming

from computer shortages causes off-the-clock work. If cable splicers were permitted

to submit their time at any point during their shift, those log-jams would be

unlikely to occur. The computer shortage problem was among the issues this court

conditionally certified for collective treatment.    Accordingly, the court finds this

aspect of the case is firmly rooted in the conditionally certified claims.

      In moving to decertify the collective, Illinois Bell cites an array of opt-in

testimony that it says shows insufficient similarity among the plaintiffs’ individual

experiences in working post-shift to submit their time or perform other required

tasks. It also relies heavily on the Johnson Report, in which Dr. Johnson shows

that on 95.2% of the days cable splicers worked after December 2009, (when cable

splicers began entering their own time), the named and opt-in plaintiffs submitted

their time sheets before the end of their shift or at the end of their submitted

overtime, or on a day other than the work date, or a person other than the worker

entered the information. (R. 193, Ex. B, Johnson Report, Ex. 4.) But inherent in

that data is the concession that on 4.8% of the days the opt-in and named plaintiffs

worked, they were not paid for time spent submitting their time sheets.           The

remaining question for this court then is whether it is possible, and practical, to

remedy that on a collective basis. Answering that question requires another visit to

the requisite three-part test.




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      1.     Similarity Based on Post-Shift Work Recording Time

      According to the plaintiffs, Illinois Bell’s policy requiring cable splicers to

return to their garage by 3:10 p.m. routinely results in unpaid time spent to

complete their JAM paperwork, because 20 minutes is an insufficient window in

which to clean up and prepare for the next day and also submit their time sheets.

Here, the court agrees that the submitted evidence points to a conclusion that there

are sufficient parallels among the plaintiffs’ experience of working post-shift to

support a finding of similarity with respect to this aspect of their claim. First,

unlike their MSOC-related claims, determining whether they submitted their time

after their shift ended without being paid does not require a finder of fact to second-

guess the motivation for why time went unpaid.         The plaintiffs’ theory is that

Illinois Bell requires cable splicers to return to the garage at a designated time and

to complete a number of tasks, including time-entry, before the end of their shift.

Determining whether that 20-minute period is sufficient is an objective inquiry

untied to any questions about individual desires to pad efficiency statistics or other

subjective motivations. Second, although Illinois Bell may be correct that most of

the time cable splicers submit their time during their shifts, its own evidence shows

that at least 20 of 22 cable splicers went unpaid for time spent completing time

sheets past their shift. (R. 193, Ex. B, Johnson Report, Ex. 5.) Third, there is a

significant amount of evidence showing that computer shortages or glitches often

caused log-jams at garages, creating a common problem that prevented cable

splicers from completing their time sheets in the 3:10-3:30 p.m. window. (See, e.g.,




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R. 217, Ex. 11, Smith Dep. at 122, Ex. 18, Deckys Dep. at 275-76; R. 194, Ex. H,

Clark Dep. at 23.) Finally, the plaintiffs have submitted evidence showing that

some cable splicers were specifically told by Illinois Bell management not to report

time spent completing JAM paperwork off the clock. One plaintiff testified that he

was “told in no uncertain terms that we were not to charge overtime for doing our

time sheets.” (R. 217, Ex. 22, Parro Dep. at 65.) Another testified that working

overtime to fill out the time sheet is “not approved.” (Id. Ex. 14, Roberts Dep. at

273-74.) Yet another testified that when he told a manager just before 3:30 p.m.

that he would not have time to finish his time sheet before the end of the shift, his

manager said, “Just get it done, and don’t take any overtime.” (Id. Ex. 8, Ericson

Dep. at 81-82.) Because of that instruction, he was at work until 4:05 p.m. finishing

his time sheet and did not get paid for the extra time. (Id.) Because the submitted

evidence creates a record suggesting that the plaintiffs uniformly experienced

difficulty getting through the expected tasks between 3:10 and 3:30 p.m., the

question whether that time period is sufficient is one that can be answered on a

collective basis.

       With respect to the post-shift aspect of the case, the court agrees with the

plaintiffs that most of Illinois Bell’s objections with respect to similarity speak more

to damages than liability.    Although Illinois Bell argues that cable splicers are

permitted to complete their time sheets during the next shift if they do not have

time the same day, some cable splicers testified that their managers told them that

time had to be submitted the day it is worked. (R. 217, Ex. 8, Ericson Dep. at 81-82,




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Ex. 14, Roberts Dep. at 273-74.)     If there are instances in which cable splicers

submitted their time during the next day’s shift, that can be accounted for by

excluding those examples in calculating individual damages.         Illinois Bell also

argues, relying on Dr. Johnson’s report, that there is too much variation in the

frequency with which cable splicers submit their time after a shift or recorded

overtime ends.    As they point out, excluding two plaintiffs from the group,

Dr. Johnson’s report demonstrates that the number of days between December 2009

and May 2012 on which the plaintiffs submitted their time sheet after the end of a

shift or any recorded overtime ranges from one to forty-three.        (R. 193, Ex. B,

Johnson Report, Ex. 5, Columns i & j.) But that range does not preclude a finding

that the sufficiency of a 20-minute window is a common question.          Instead, it

governs the amount of damages individual plaintiffs will be entitled to recover if the

finder of fact concludes that it is not. Importantly, Dr. Johnson’s report suggests

that determining individual damages on this aspect of the FLSA claim can be

determined fairly easily by analyzing the JAM data. (Id.)

      Illinois Bell’s two remaining objections appear to be that cable splicers who

enter their time on laptops or who left the company before it implemented electronic

time entry in December 2009 cannot be similarly situated to the rest of the group.

(R. 205-2, Def.’s Br. at 48.) But to the extent they are right, those discrete sub-

groups can be dealt with either by modifying the class definition, such as to exclude

the pre-December 2009 group, or by using sub-groups, for example to determine

whether cable splicers who used laptops should be put under a separate umbrella




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for the determination of liability. Because those issues can be parsed out as the

case approaches the trial stage, they do not stand as a bar to the finding of

similarity here.

      2.     Individual Defenses

      Whether or not Illinois Bell’s defenses require an inordinate amount of

individual inquiries with respect to the post-shift claim appears to be a bit of a

mixed bag. To the extent it plans to challenge the credibility of the plaintiffs’ claims

that they stayed past their shift to record time and were not paid for it, for the same

reasons discussed above in section B(2)(b), that defense could require individualized

assessments.       But Illinois Bell’s argument that knowledge is an individualized

defense is not as strong when applied to these facts. Unlike the evidence regarding

cable splicers’ independent choices to manipulate their time to game the MSOC

system, with respect to finishing their time sheets, there is both evidence that

managers knew cable splicers were working without pay and in some cases

affirmatively instructed the plaintiffs to work without pay. Another key distinction

is that the unpaid post-shift work occurred in the garages, where managers often

were present. That factor makes it more likely that managers actually observed the

off-the-clock work, possibly supporting a finding that they had at least constructive

knowledge that cable splicers were submitting time sheets post-shift. Although the

defense may require evidence related to the conditions at each of the garages

implicated in this case, that burden is not so great as to warrant decertification

with respect to a claim that is otherwise amenable to collective treatment.




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      Additionally, Illinois Bell argues that it plans to assert that post-shift work

was de minimus or otherwise not integral and indispensable to cable splicers’

primary job duties. (R. 205-2, Def.’s Br. at 63-64.) Those defenses are two sides of

the same coin. Work is de minimus unless “an employee is required to give up a

substantial measure of his time and effort” to complete the task. See Sandifer v.

U.S. Steel Corp., 678 F.3d 590, 593 (7th Cir. 2012) (quoting Anderson v. Mt.

Clemens Pottery Co., 328 U.S. 680, 692 (1946), cert. granted, Sandifer v. U.S. Steel

Corp., 133 S. Ct. 1240 (U.S. Feb. 19, 2013). And work is not compensable unless it

is performed for the employer’s benefit rather than for the employee’s convenience.

See Kellar, 664 F.3d at 175-76. Rather, an employer is liable “for any work of

consequence performed for an employer for which the employer derives significant

benefit.” Id. at 175. Illinois Bell has not given the court a persuasive reason to

doubt that the determinations regarding whether the post-shift work constitutes

compensable time are amenable to collective treatment. On the contrary, the way

in which cable splicers use the JAM system, with the possible exception of entering

time on a laptop versus a garage computer, appears to be uniform. Because these

two defenses are likely to be the same as applied to any cable splicers who

submitted their JAM paperwork post-shift, they do not pose the same barriers of

individual assessment that were present with respect to the MSOC-related

defenses. Accordingly, the court concludes that this factor also weighs in favor of

continued certification.




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      3.     Fairness and Procedural Concerns

      Because the court finds that the claim with respect to post-shift time

submission is sufficiently similar, both with respect to the cable splicer’s individual

experiences and Illinois Bell’s defenses, it is fairly easy to weigh the last factor in

the plaintiffs’ favor.   As the plaintiffs point out, § 216(b) was designed both to

promote judicial efficiency by allowing common issues to be resolved collectively and

to give plaintiffs “the advantage of lower individual costs to vindicate rights by the

pooling of resources.” See Hoffman-LaRoche, 493 U.S. at 170. By allowing the one

aspect of the plaintiffs’ case that supports a finding of similarity among the

plaintiffs to continue on a collective basis, the court can promote that goal.

Collective treatment will salvage some of the time and expense that has been

invested in the conditionally certified class. It can also prevent a situation in which

the same question—whether Illinois Bell’s policy of requiring cable splicers to report

to their garages in a specific window of time causes them to submit their time

records post-shift and without pay—is litigated in hundreds of individual suits. For

all of these reasons, Illinois Bell’s motion is denied to the extent that it seeks to

decertify the collective with respect to the plaintiffs’ claim that its policies force

cable splicers to forego pay for time spent submitting their time sheets.




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                                     Conclusion

      For the foregoing reasons, Illinois Bell’s motion to decertify the class is

granted in part and denied in part. The motion is granted to the extent that the

plaintiffs argue they are entitled to proceed collectively with respect to their theory

that MSOC-related efficiency pressure forces them to work off the clock.            The

motion is denied to the extent that Illinois Bell seeks to decertify the collective with

respect to the question whether its policies regarding when cable splicers may

return to their garage at the end of their shift forced the plaintiffs to submit their

time off the clock.

                                               ENTER:




                                               ____________________________________
                                               Young B. Kim
                                               United States Magistrate Judge




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